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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                STATESBORO DIVISION

PATRICIA WENTWORTH,

       Plaintiff,                                     CASE NO.

v.

DOLLAR GENERAL CORPORATION,

      Defendant.
____________________________________/

                                          COMPLAINT

       Plaintiff, PATRICIA WENTWORTH, hereby sues Defendant, DOLLAR GENERAL

CORPORATION, and alleges:

                                  NATURE OF THE ACTION

1.     This is an action brought under 42 U.S.C. '2000e et seq., and as amended, including but

not limited to the Pregnancy Discrimination Act. This action is also brought under the Fair

Labor Standards Act (hereinafter FLSA), 29 U.S.C. §§ 201, et seq.

       2.      This is an action involving claims which are, individually, in excess of Seventy-

Five Thousand Dollars ($75,000.00), exclusive of costs and interest.

                                          THE PARTIES

       3.      At all times pertinent hereto, Plaintiff, PATRICIA WENTWORTH, has been a

resident of the State of Georgia and was employed by Defendant. Plaintiff is a member of a

protected class due to her gender, female and the fact that she reported discrimination adversely

affecting her and she was the victim of retaliation thereafter.

       4.      At all times pertinent hereto, Defendant, DOLLAR GENERAL CORPORATION,

has been conducting business in the State of Georgia and more particularly, in the City of Lyons,
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Toombs County, Georgia. At all times pertinent to this action, Defendant has been an "employer"

as that term is used under the applicable laws identified above.

        5.     Plaintiff has satisfied all conditions precedent to bringing this action in that she

filed a charge of discrimination with the Equal Employment Opportunity Commission, as

authorized. She has further received her Right to Sue letter. This action is timely brought

thereafter.

                         STATEMENT OF THE ULTIMATE FACTS

        6.     Plaintiff was employed by Defendant. At the time of her wrongful firing, she was

almost eight months pregnant. During the course of her employment, and particularly pertinent to

the period, she was pregnant, she was treated differently and less favorably, subjected to a hostile

work environment, and subjected to different and less favorable terms and conditions. That

includes the differential enforcement of rules, the cutting of her hours, and her eventual firing on

pretextual grounds. Defendant started to micromanage Plaintiff as she got close to the end of her

pregnancy, criticize her like it had never done before, and falsely accuse her of violating policies.

Just before she was fired, a loss prevention employee forced her to write a statement saying that,

at some point in the past, she consumed a product within the store and then paid for it later in the

day. Defendant claimed this was a violation of policy. But this was a common practice within the

store. In other words, Defendant was now attempting to enforce the policy in a way it had never

done before, and specifically toward Plaintiff, was on the verge of giving birth. In fact, Plaintiff

had been told by management on the day this occurred that she did not need to worry about paying

for it before she ate. Even so, the loss prevention manager harassed her, and pressured her to sign

a statement, and then ordered her to falsely write “at my own free will I give this statement” and


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“I wasn’t promised anything or threatened,” both of which were statements Plaintiff would not

have even conceived of but for pressure and orders from the loss prevention manager. Plaintiff

was also ordered to include a statement that she had also worked off the clock in the past. But

rather than compensate Plaintiff for wage and hour violations by the company, Defendant then

immediately fired Plaintiff for writing the statement. Plaintiff complained about the way she was

being treated, to no avail.

       7.      As a result of these disclosures, and her opposition to unlawful treatment, Plaintiff

was the subject of disparate treatment based on her gender, female, her pregnancy, and her voiced

opposition to unlawful employment practices.

       8.      Plaintiff has retained the undersigned to represent her interests in this cause and is

obligated to pay her a fee for her services. Defendant should be made to pay said fee under 42

U.S.C. '2000e et seq., as amended.

                                            COUNT I

                         GENDER/PREGNANCY DISCRIMINATION

       9.      Paragraphs 1-8 are realleged and incorporated herein by reference.

       10.     This is an action against Defendant for gender and pregnancy discrimination.

       11.     Defendant has taken action and allowed action to be taken against Plaintiff because

she is female and was pregnant. During Plaintiff=s employment with Defendant, she was the

victim of harassment and disparate treatment based on gender/pregnancy with no action taken by

Defendant to prevent or otherwise correct a known problem.                  Then after notice of

gender/pregnancy harassment and other forms of discrimination described more fully herein,




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Defendant delayed in taking action and caused additional harassment and harm to Plaintiff

including without limitation her termination.

        12.     Defendant knew or should have known of the gender/pregnancy-based

discrimination perpetuated against Plaintiff and failed to take prompt and adequate remedial action

or took no action at all to prevent the abuses to Plaintiff. The events set forth herein lead, at least

in part, to Plaintiff=s termination.

        13.     Defendant knowingly condoned and ratified the discrimination set forth above.

        14.     The discrimination complained of herein affected a term, condition, or privilege of

Plaintiff's continued employment with Defendant.

        15.     Defendant's conduct and omissions constitute intentional discrimination and

unlawful employment practices based upon gender/pregnancy in violation of the state and federal

laws applicable to this action.

        16.     As a direct and proximate result of Defendant's conduct described above, Plaintiff

has suffered emotional distress, mental pain and suffering, past and future pecuniary losses,

inconvenience, mental anguish, loss of enjoyment of life and other non-pecuniary losses, along

with lost back and front pay, interest on pay, bonuses, and other tangible and intangible damages.

These damages have occurred in the past and are continuing.

        17.     Plaintiff is entitled to punitive damages.

                                             COUNT II

                                          RETALIATION

        18.     Paragraphs 1-8 are hereby realleged and reincorporated as if set forth in full herein.




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        19.     Defendant is an employer as that term is used under the applicable statutes

referenced above.

        20.     The foregoing allegations establish a cause of action for unlawful retaliation after

Plaintiff reported unlawful employment practices adversely affecting her under 42 U.S.C ' 2000e

et seq., and as amended.

        21.     The foregoing unlawful actions by Defendant were purposeful.

        22.     Plaintiff voiced opposition to unlawful employment practices during her

employment with Defendant and she was the victim of retaliation thereafter, as related in part

above. The events set forth herein lead, at least in part, to Plaintiff=s termination.

        23.     Plaintiff is a member of a protected class because she reported unlawful

employment practices and was the victim of retaliation thereafter.            There is thus a causal

connection between the reporting of the unlawful employment practices and the adverse

employment action taken thereafter.

        24.     As a direct and proximate result of the foregoing unlawful acts and omissions,

Plaintiff has suffered mental anguish, emotional distress, expense, loss of benefits, embarrassment,

humiliation, damage to reputation, illness, lost wages, loss of capacity for the enjoyment of life,

and other tangible and intangible damages. These damages are continuing.

        25.     Plaintiff is entitled to punitive damages.


                                         COUNT III
                                FAIR LABOR STANDARDS ACT
                                   29 U.S.C. § 201, ET SEQ.
                                 UNPAID WAGES/OVERTIME

        26.     Plaintiffs reallege paragraphs 1 through 8.


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        27.     Plaintiff worked as an employee for Defendant.

        28.     Plaintiff was a highly dedicated employee during Plaintiff’s tenure with Defendant.

        29.     Plaintiff fulfilled all the duties and functions of Plaintiff’s position with Defendant

and, at all times pertinent hereto, was qualified for the position Plaintiff held with Defendant.

       30.      Plaintiff’s dedication was rewarded by the failure of Defendant to pay Plaintiff for

hours worked.     On one or more occasions, Plaintiff was ordered to work off the clock by

Defendant. In fact, defendant and its management had actual knowledge that Plaintiff had worked

off the clock, and failed to pay her, because its loss prevention manager, just before firing Plaintiff,

acknowledged his awareness that Plaintiff had worked hours for Defendant that were not properly

compensated.

       31.      Plaintiff suffered loss of wages as a consequence.

       32.      Defendant has ratified the unlawful conduct of its supervisors and managers in

failing to properly pay Plaintiff wages for hours worked and for overtime.

       33.      Defendant failed to have effective policies and procedures in place to prevent and

correct the wrongs stated herein.

       34.      Plaintiff had to retain counsel and owe a reasonable attorney fee to vindicate

Plaintiff’s rights in this matter. Defendant should be made to pay said fee and any associated

costs. he foregoing actions of Defendant constitute violations of the Fair Labor Standards Act

(FLSA), 29 U.S.C. § 201, et seq.

       35.      Defendant was - and is - required to pay Plaintiff compensation at no less than a

federally-established minimum wage for each hour worked, plus overtime compensation at one

and one-half times Plaintiff’s regular hourly wage for any hours worked in excess of forty (40)


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hours, pursuant to 29 U.S.C. § 207(a)(1). Defendant is further required to compensate Plaintiffs

for hours worked off the clock.

        36.    Defendant failed to pay Plaintiff a wage of at least the federal minimum wage for

each hour worked, plus overtime compensation, plus hours worked off the clock pursuant to the

FLSA.

        37.    Defendant’s actions were willful and not in good faith.

        38.    Defendant is liable to Plaintiff for actual damages, liquidated damages and

equitable relief, pursuant to 29 U.S.C. § 216(b).

        39.    Defendant is responsible for Plaintiff’s attorney fees and costs under the FLSA.



                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for the following relief:

               (a)     that process issue and this Court take jurisdiction over this case;

               (b)     that this Court grant equitable relief against Defendant under the applicable

counts set forth above, mandating Defendant's obedience to the laws enumerated herein and

providing other equitable relief to Plaintiff;

               (c)     enter judgment against Defendant and for Plaintiff awarding damages to

Plaintiff from Defendant for Defendant's violations of law enumerated herein, including back pay,

front pay, and compensation for lost benefits, as well as liquidated damages and punitive damage;

               (d)     enter judgment against Defendant and for Plaintiff permanently enjoining

Defendant from future violations of federal law enumerated herein;




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               (e)     enter judgment against Defendant and for Plaintiff awarding Plaintiff

attorney's fees and costs; and

               (f)     grant such other further relief as being just and proper under the

circumstances, including but not limited to reinstatement to the same or a substantially similar

position.

                                 DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury on all issues set forth herein which are so triable.

       DATED this 29th day of June 2021.

                                                      Respectfully submitted,


                                                      /s/ Marie A. Mattox
                                                      Jim Garrity [GBN: 121837]
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